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IN THE UNITED sTATES DISTRICT CoURT »
FoR THE WESTERN DISTRICT 0F TENNESSEE 05 £.PR | 9 PH z 3

 

WESTERN DIVISION

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WD F;F T:\l, Mz-‘mPHLQ
UNITED STATES OF AMERICA )
)
Plaintift`, )
)

VS ) CR. NO. 04-20148-D

)
FADI BAHHUR )
)
Defendant. )

 

AMENDED ORDER TO SURRENDER

 

The defendant, Fadi Bahhur, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prlsons by reporting to the FCI Yazoo City
SCP, 2225 Haley Barbour Parkway, P.O. Box 5050, Yazoo City, Mississippi 39194 by 2:00 p.m.
on MONDAY, AUGUST 29, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant Shall
report immediately to the Oft`lce of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Mernphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

EN'I`ERED this the g j day oprI°il, 2005.

 

RNICE B. DONALD
NITEI) STATES DISTRICT JUDGE

Thls document entered on the dockets eat ln Ocompiiance
with Ru|e 55 and!or 32(b )FRCrF’ on " 20

 

  

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

COURT - WTERN DISTRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 143 in
case 2:04-CR-20148 Was distributed by faX, mail, or direct printing on
April 20, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

